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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 LARRY KLAYMAN,                                       )
                                                      )
                                Plaintiff,            )     Civil Action No. 1:18-01579 (RDM)
                                                      )
                                                      )
                 v.
                                                      )
                                                      )
                                                      )
 HAMILTON FOX, et al.,                                )
                                                      )
                                Defendants.           )



               OPPOSITION TO PLAINTIFF’S MOTION FOR
         RECONSIDERATION OF THE COURT’S ORDER GRANTING
       MOTION TO DISMISS AND FOR RECUSAL OR DISQUALIFICATION

       Plaintiff’s motion for reconsideration of the Court’s order granting Defendants’ motion to

dismiss and for recusal or disqualification, ECF No. 35 (“Motion”), is an improper attempt to

rehabilitate and repeat arguments Plaintiff has already raised and this Court has already decided.

For the reasons outlined below, Defendants respectfully request that the Court deny Plaintiff’s

Motion in its entirety.

                                             ARGUMENT

I.     Plaintiff Has Failed To Demonstrate That Reconsideration Is Warranted

       Plaintiff seeks relief from this Court’s order dismissing his Amended Complaint pursuant

to two provisions of Federal Rule of Civil Procedure 60(b): Rule 60(b)(1), which permits such

relief upon demonstration of “mistake, inadvertence, surprise, or excusable neglect”; and Rule

60(b)(6), a catch-all provision for “any other reason that justifies relief.” While “[t]he decision to

grant or deny a rule 60(b) motion is committed to the discretion of the District Court,” Kareem v.

FDIC, 811 F. Supp. 2d 279, 282 (D.D.C. 2011) (quoting United Mine Workers of Am. 1974
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Pension v. Pittston Co., 984 F.2d 469, 476 (D.C. Cir. 1993)), “[t]he party seeking relief under Rule

60(b) bears the burden of showing that he or she is entitled to [it],” People for the Ethical

Treatment of Animals v. U.S. Dep’t of Health & Human Servs., 226 F. Supp. 3d 39, 45 (D.D.C.

2017). Plaintiff fails to carry that burden here under either Rule 60(b)(1) or Rule 60(b)(6).

       1. Relief pursuant to Rule 60(b)(1) is only granted in “extraordinary circumstances.”

Mazengo v. Mzengi, 542 F. Supp. 2d 96, 99 (D.D.C. 2008) (quoting Webster v. Pacesetter, Inc.,

270 F. Supp. 2d 9, 11 (D.D.C.2003)). Plaintiff implies such circumstances are present here based

on two “egregious[] err[ors]” he claims the Court committed: “(1) finding that Mr. Klayman did

not plead the ‘bad-faith’ exemption to the Younger Abstention Doctrine with the requisite

specificity and (2) finding that Defendants are covered by absolute immunity because Mr.

Klayman did not plead action outside of the scope of employment with the requisite specificity.”

Mot. at 4. Neither supposed error warrants relief under Rule 60(b)(1).

       “Rule 60(b)(1) typically encompasses ‘mistake, inadvertence, surprise, or excusable

neglect’ of the parties,” Bestor v. FBI, 539 F. Supp. 2d 324, 328 (D.D.C. 2008) (emphasis added),

a scenario that Plaintiff’s Motion does not allege. The D.C. Circuit “allows the rule to reach the

court’s alleged legal errors,” by contrast, only in the “very limited situation when the controlling

law of the circuit changed between the time of the court’s judgment and the Rule 60 motion.” Id.

(emphasis added); see also, e.g., Douglas v. District of Columbia Hous. Auth., 306 F.R.D. 1, 5

(D.D.C. 2014) (“Indeed, the D.C. Circuit has only recognized such a possibility where the district

court has made an ‘obvious error,’ such as basing its legal reasoning on case law that, unbeknownst

to the court, recently had been overturned.”). Plaintiff, however, does not cite a single case that

issued since he initiated this action, let alone one that has altered the controlling law since the

Court issued its order dismissing the Amended Complaint.




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       Instead, Plaintiff merely contends that the Court erred in construing the allegations in his

Amended Complaint and applying them to long-standing precedent.               See, e.g., Mot. at 4

(acknowledging that this case turns on doctrines that “the District of Columbia Circuit has squarely

held,” even before this Court ever ruled); id. at 7 (relying on 2010 case concerning scope of

immunity). But “a party's disagreement with a district court's legal reasoning or analysis is rarely,

if ever, a basis for relief under Rule 60(b)(1).” Douglas, 306 F.R.D. at 5 (quoting Munoz v. Bd. of

Trustees of Univ. of D.C., 730 F. Supp. 2d 62, 67 (D.D.C. 2010)). Therefore, because “the

[P]laintiff does not allege, nor could he, that an intervening change in law has occurred since the

court issued its [final] judgment[,] . . . Rule 60(b)(1) is inapplicable.” Bestor, 539 F. Supp. 2d at

328.

       2. The same conclusion holds for Rule 60(b)(6). “The Supreme Court has noted that courts

should grant Rule 60(b)(6) motions only in ‘extraordinary circumstances,’” Kramer v. Gates, 481

F.3d 788, 791 (D.C. Cir. 2007) (quoting Ackermann v. United States, 340 U.S. 193, 199 (1950)),

and the D.C. Circuit has observed that this catch-all provision “should be only sparingly used,” id.

at 792 (quoting Good Luck Nursing Home, Inc. v. Harris, 636 F.2d 572, 577 (D.C. Cir. 1980)). In

particular, “[r]econsideration is proper under Rule 60(b)(6) only ‘when a party timely presents a

previously undisclosed fact so central to the litigation that it shows the initial judgment to have

been manifestly unjust.’” Taitz v. Obama, 754 F. Supp. 2d 57, 59 (D.D.C. 2010) (emphasis added)

(quoting Good Luck Nursing Home, Inc., 636 F.2d at 577).

       Plaintiff has not demonstrated any extraordinary circumstances or manifest injustice here,

and does not so much as hint at a “previously undisclosed fact so central to the litigation.” On the

contrary, rather than present any new fact, the Motion merely reemphasizes the allegations that

Plaintiff claims the Amended Complaint “expressly and unequivocally pleads” and the Court




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“even runs through” in its order. Mot. at 5. Plaintiff had ample opportunity to argue that he

pleaded with requisite specificity that Defendants’ actions fit within the bad-faith exception to the

Younger doctrine and fell outside the scope of their employment; in fact, he previously presented

those specific arguments. See ECF No. 25; see also ECF No. 36. That the Court disagreed with

Plaintiff’s arguments is hardly remarkable, and certainly provides no basis for reconsideration, as

“[t]he case law makes clear that Rule 60(b)(6) is not an opportunity for unsuccessful litigants to

take a mulligan.” Kramer, 481 F.3d at 792. Indeed, even if the Court had committed error in the

manner Plaintiff suggests (which is not the case), that alone would not entitle Plaintiff to the re-do

he seeks; “rule 60(b)(6) relief is not a “substitute for appeal.” Salazar ex rel. Salazar v. District of

Columbia, 633 F.3d 1110, 1122 (D.C. Cir. 2011) (quoting Polites v. United States, 364 U.S. 426,

432 (1960)).

       Accordingly, Plaintiff’s motion for reconsideration must be denied under both Rule

60(b)(1) and Rule 60(b)(6).

II.    Plaintiff Has Failed To Demonstrate That Recusal Or Disqualification Is Warranted

       Plaintiff also moves for recusal or disqualification under 28 U.S.C. § 144 and 28 U.S.C.

§ 455. In addition to satisfying critical procedural safeguards, a motion to recuse or disqualify

must contain more than “bald allegations of bias or prejudice,” Klayman v. Judicial Watch, Inc.,

278 F. Supp. 3d 252, 255 (D.D.C. 2017) (quoting Karim–Panahi v. U.S. Cong., Senate & House

of Representatives, 105 F. App’x 270, 275 (D.C. Cir. 2004)), and must “set[] forth a legally

sufficient basis for disqualification” that “state[s] facts as opposed to conclusions” of reasonably

questionable impartiality, id. at 256-257 (citations and internal quotation marks omitted). Because

Plaintiff’s Motion is both procedurally and substantively defective, it fails to demonstrate that

either drastic measure is warranted here.




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          1. As a preliminary matter, Plaintiff is procedurally barred from invoking the extreme

relief he seeks under section 144 because his affidavit is “[un]timely and [in]sufficient.” 28

U.S.C. § 144. That provision requires that a party’s “affidavit that the judge before whom the

matter is pending has a personal bias or prejudice either against him or in favor of any adverse

party” “shall be filed not less than ten days before the beginning of the term at which the

proceeding is to be heard, or good cause shall be shown for failure to file it within such time.” Id.

(emphasis added). This “timeliness requirement” is “[c]rucial to the integrity of the judicial

process” because it “ensures that a party may not wait and decide whether to file based on ‘whether

he likes subsequent treatment that he receives.’” S.E.C. v. Loving Spirit Found. Inc., 392 F.3d

486, 492 (D.C. Cir. 2004) (quoting In re United Shoe Mach. Corp., 276 F.2d 77, 79 (1st Cir.

1960)).

          Plaintiff filed his affidavit well after that statutory deadline, and neither that affidavit nor

the Motion to which it is attached provides any indication of good cause for the delay. Although

Plaintiff intimates that the Court’s order itself constitutes some intervening basis for the relief he

seeks, “mere dissatisfaction with a ruling of this Court is insufficient to warrant recusal or

disqualification,” and thus cannot extend the statutory deadline under section 144, particularly

when all the other “complained of acts in the pending motion and affidavit occurred years prior.”

Klayman, 278 F. Supp. 3d at 258, 264. Where, as here, “[t]he plaintiff filed his motion at the close

of the case and bases his motion on facts long-known[,] [t]here is simply no reason to excuse the

delay.” Twist v. U.S. Dep’t of Justice, 344 F. Supp. 2d 137, 142 (D.D.C. 2004).

          Moreover, section 144 also requires that the affidavit “be accompanied by a certificate of

counsel of record stating that it is made in good faith.” 28 U.S.C. § 144; see, e.g., Loving Spirit

Found, 392 F.3d at 496 (“[T]o guard against the removal of an unbiased judge through the filing




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of a false affidavit, the statute requires the attorney presenting the motion to sign a certificate

stating that both the motion and declaration are made in good faith.” (internal citation omitted)).

While Plaintiff’s affidavit includes an assertion that the recited facts are “true and correct to the

best of [his] knowledge and belief,” ECF No. 35-2, at 4, it does not comport with section 144

because no certificate of good faith accompanies it. See, e.g., Armenian Assembly of Am., Inc. v.

Cafesjian, 783 F. Supp. 2d 78, 88 (D.D.C. 2011) (finding that plaintiff’s motion was “not

supported by a valid certificate of counsel pursuant to § 144” where counsel’s certificate stated the

motion was made in good faith, but “d[id] not state that the declaration . . . was submitted in good

faith”). Accordingly, Plaintiff’s untimely and insufficient affidavit forecloses recusal under

section 144.1

       2. Plaintiff’s Motion fares no better on the merits, whether considered under section 144

or section 455. See Twist, 344 F. Supp. 2d at 142 (explaining that the substantive standards

generally overlap because recusal under section 144 “is required only in circumstances specified

in 28 U.S.C. § 455(b)”). Plaintiff does not contend that disqualification or recusal is warranted

under any of the specific circumstances enumerated in section 455(b), such as the presence of a

“personal bias or prejudice,” a prior or ongoing relationship or experience connected to “the

particular case in controversy,” or a financial or other interest that “could be substantially affected



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          “[W]hile section 455(a) contains no express timeliness provision, most circuits
considering the matter have concluded that a litigant must raise the disqualification issue within a
reasonable time after the grounds for it are known.” United States v. Barrett, 111 F.3d 947, 951
(D.C. Cir. 1997) (citation omitted). As explained further below, the only “new” reason for
disqualification that Plaintiff raises in his Motion boils down to the fact that the Court “found the
Amended Complaint to be conclusory.” Mot. at 10. Because that does not provide a legitimate
basis for disqualification, see p. 7, infra, and all the other purported grounds for disqualification
were known well before this case even began, Plaintiff’s Motion is also untimely under section
455. See Armenian Assembly of Am., 783 F. Supp. 2d at 87 (“For purposes of timeliness, the
applicant is charged with knowledge of all facts ‘known or knowable, if true, with due diligence
from the public record or otherwise.’” (citations omitted)).

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by the outcome of the proceeding.” 28 U.S.C. § 455(b) (emphasis added). Instead, Plaintiff claims

generally that recusal or disqualification is required because the Court’s “impartiality might

reasonably be questioned.” Mot. at 8 (quoting 28 U.S.C. § 455(a)).

        In support of that claim, Plaintiff primarily marshals the same unfounded arguments

concerning the Court’s “political partisanship” that he raised in his prior recusal motion. Mot. at

10; see ECF No. 4. This Court already properly rejected those arguments. See ECF No. 5. In

particular, the Court correctly explained that “the process of judging has [no]thing to do with the

past political activity or public service of judges.” Id. at 2. Basing recusal on Plaintiff’s allegations

of the Court’s prior political and professional activities “is not only unwarranted, but would foster

the erroneous—and corrosive—perception that judicial decisions are based on politics, rather than

the relevant law and facts.” Id. at 3.

        Plaintiff offers only two purported grounds for recusal or disqualification that the Court

has not previously considered and rejected: (1) that the Court ruled against Plaintiff and precluded

discovery after finding “the Amended Complaint to be conclusory,” Mot. at 10; and (2) that the

Court “tr[ied] to give off the false impression of impartiality” by “dismiss[ing] Mr. Klayman’s

claims without prejudice,” id. at 3-4. As to the former, it is well established that “unfavorable

judicial rulings alone almost never constitute a valid basis for reassignment.” United States v.

Hite, 769 F.3d 1154, 1172 (D.C. Cir. 2014); see, e.g., Klayman, 278 F. Supp. 3d at 256 (“[C]ourts

in this circuit have routinely held that a claim of bias predicated on a court’s rulings do not,

standing alone, warrant recusal.”). As to the latter, the Court’s willingness to afford Plaintiff an

opportunity to correct his pleading defects hardly suggests any indicia of bias or partiality against

Plaintiff. Therefore, Plaintiff has failed to demonstrate any need for the “extreme measure” he

seeks. Twist, 344 F. Supp. 2d at 142.




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                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court deny Plaintiff’s

Motion with respect to both his request for reconsideration under Rule 60(b) and his request for

recusal or disqualification under 28 U.S.C. §§ 144, 455. Because Plaintiff’s Motion presents

straightforward issues that this Court already has substantially considered, there is no need for oral

argument.



Dated: June 21, 2019                           Respectfully submitted,


                                               /s/ Mark J. MacDougall
                                               Mark J. MacDougall (D.C. Bar No. 398118)
                                               Lide E. Paterno (DC Bar No. 166601)
                                               AKIN GUMP STRAUSS HAUER & FELD LLP
                                               2001 K Street, NW
                                               Washington, DC 20006
                                               Tel: (202) 887-4000 ǀ Fax: (202) 887-4288
                                               mmacdougall@akingump.com
                                               lpaterno@akingump.com

                                               Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on this 21st day of June 2019, a true and correct copy of the

foregoing document was served upon the parties in this case via the Court’s electronic filing system

and is available for viewing and downloading from the ECF system.



                                              /s/ Mark J. MacDougall
                                              Mark J. MacDougall (D.C. Bar No. 398118)
